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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)   BROWN RUDNICK LLP
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                                                               Chapter 11

     In re:                                                    Case No.: 23-12825 (MBK)

     LTL MANAGEMENT LLC, 1                                     Honorable Michael B. Kaplan

                                      Debtor.




               DECLARATION OF DANIEL M. STOLZ IN SUPPORT OF
           MOTION OF THE OFFICIAL COMMITTEE OF TALC CLAIMANTS
      TO DISMISS SECOND BANKRUPTCY PETITION OF LTL MANAGEMENT, LLC

              I, Daniel M. Stolz, pursuant to 28 U.S.C. § 1746, declare, under penalty of perjury, that

 the following is true and correct:

              1.     I am a partner with law firm Genova Burns LLC, proposed local counsel to the

 Official Committee of Talc Claimants (the “TCC” or “Committee”).

              2.     I submit this declaration to place in the record on the Motion of the Official

 Committee of Talc Claimants to Dismiss Second Bankruptcy Petition of LTL Management, LLC

 (the “Motion”) certain documents submitted in connection with the Motion.

              3.     Attached hereto as Exhibit 1, is a true and correct copy of the transcript of

 proceedings held on April 20, 2023 in the bankruptcy case In re LTL Management LLC, Case No.

 23-12825 (MBK) (Bankr. D.N.J.).

              4.     Attached hereto as Exhibit 2, is a true and correct copy of the transcript of

 proceedings held on April 18, 2023 in the bankruptcy case In re LTL Management LLC, Case No.

 23-12825 (MBK) (Bankr. D.N.J.).




 1
         The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501
 George Street, New Brunswick, New Jersey 08933.
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          5.       Attached hereto as Exhibit 3 is a true and correct copy of excerpts of the transcript

 of the deposition of Richard Dickinson taken on April 17, 2023, in connection with this matter.

          6.       Attached hereto as Exhibit 4, filed under seal, is a true and correct copy of a

 presentation dated April 2, 2023, bearing Bates numbers LTLMGMT-00000260 to LTLMGMT-

 00000271 produced by the Debtor in connection with this matter.2

          7.       Attached hereto as Exhibit 5, filed under seal, is a true and correct copy of a

 document entitled “Minutes of Board of Managers” dated March 16, 2023, bearing Bates numbers

 LTLMGMT-00002626 to LTLMGMT-00002627 produced by the Debtor in connection with this

 matter, subject to the reservation of rights as stated in note 2, supra.

          8.       Attached hereto as Exhibit 6, filed under seal, is a true and correct copy of a

 document entitled “Minutes of Board of Managers” dated March 28, 2023, bearing Bates numbers

 LTLMGMT-00000001 to LTLMGMT-00000005 produced by the Debtor in connection with this

 matter, subject to the reservation of rights as stated in note 2, supra.

          9.       Attached hereto as Exhibit 7, filed under seal, is a true and correct copy of a

 presentation dated March 28, 2023, bearing Bates numbers LTLMGMT-00000233 to

 LTLMGMT-00000259 produced by the Debtor in connection with this matter, subject to the

 reservation of rights as stated in note 2, supra.

          10.      Attached hereto as Exhibit 8, filed under seal, is a true and correct copy of a

 document entitled “Minutes of Board of Managers” dated April 2, 2023, bearing Bates numbers

 LTLMGMT-00000006 to LTLMGMT-00000019 produced by the Debtor in connection with this

 matter, subject to the reservation of rights as stated in note 2, supra.


 2
          The Committee is filing this exhibit and certain other exhibits under seal given the designation of the
 document as confidential by LTL Management LLC (the “Debtor”), pending the entry of a protective order in this
 case. By filing these exhibits under seal, the Committee does not waive any rights as to the confidentiality designation
 or use of any such exhibit, and expressly reserves all applicable rights.
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        11.     Attached hereto as Exhibit 9 is a true and correct copy of excerpts of the Motion to

 Stay Mandate filed on March 22, 2023 by LTL Management LLC with the United States Court of

 Appeals for the Third Circuit in In re LTL Management LLC, Case No. 22-2003, Dkt. 173.

        12.     Attached hereto as Exhibit 10 is a true and correct copy of excerpts of the transcript

 of proceedings held on February 18, 2022 in the bankruptcy case In re LTL Management LLC,

 Case No. 21-30589 (MBK) (Bankr. D.N.J.).

        13.     Attached hereto as Exhibit 11 is a true and correct copy of the Amended and

 Restated Funding Agreement dated October 12, 2021.

        14.     Attached hereto as Exhibit 12 is a true and copy of the October 14, 2021 Declaration

 of John K. Kim in Support of First Day Pleadings filed in In re LTL Management LLC, Case No.

 21-30589 (MBK) (Bankr. D.N.J.), Dkt. 5.

        15.     Attached hereto as Exhibit 13, filed under seal, is a true and correct copy of

 excerpts of the transcript of the deposition of John K. Kim taken on April 14, 2023, in this

 Adversary Proceeding, subject to the reservation of rights as stated in note 2, supra.

        16.     Attached hereto as Exhibit 14 is a true and correct copy of excerpts of the transcript

 of proceedings held on September 19, 2022 before the United States Court of Appeals for the Third

 Circuit in In re LTL Management LLC, Case No. 22-2003.

        17.     Attached hereto as Exhibit 15 is a true and correct copy of the Supporting

 Documentation to the Debtor’s February 2023 Monthly Operating Report filed in In re LTL

 Management LLC, Case No. 21-30589 (MBK) (Bankr. D.N.J. Mar. 21, 2023), Dkt. No. 3886-1.

        18.     Attached hereto as Exhibit 16, filed under seal, is a true and correct copy of

 excerpts of the transcript of the deposition of Erik Haas taken on April 14, 2023, in this Adversary

 Proceeding, subject to the reservation of rights as stated in note 2, supra.
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        19.     Attached hereto as Exhibit 17 is a true and correct copy of excerpts of the transcript

 of proceedings held on April 11, 2023 in the bankruptcy case In re LTL Management LLC, Case

 No. 23-12825 (MBK) (Bankr. D.N.J.).

        20.     Attached hereto as Exhibit 18 is a true and correct copy of a document titled “Form

 8-K,” dated April 4, 2023, filed by Johnson and Johnson with the United States Securities and

 Exchange Commission.

        21.     Attached hereto as Exhibit 19, filed under seal, is a true and correct copy of

 excerpts of the transcript of the deposition of Adam Pulaski taken on April 15, 2023, in connection

 with this matter, subject to the reservation of rights as stated in note 2, supra.

        22.     Attached hereto as Exhibit 20, filed under seal, is a true and correct copy of

 excerpts of the transcript of the deposition of Mikal Watts taken on April 17, 2023, in connection

 with this matter, subject to the reservation of rights as stated in note 2, supra

        23.     Attached hereto as Exhibit 21, filed under seal, is a true and correct copy of

 excerpts of the transcript of the deposition of James Murdica taken on April 16, 2023, in connection

 with this matter, subject to the reservation of rights as stated in note 2, supra

        24.     Attached hereto as Exhibit 22, filed under seal, is a true and correct copy of an

 email dated February 26, 2023 from Mikal Watts to James Murdica and Jason Itken (attached as

 Exhibit 6 to the April 17, 2023 Deposition of Mikal Watts).

        25.     Attached hereto as Exhibit 23 is a true and correct copy of excerpts of the Brief for

 Debtor-Appellee filed with the United States Court of Appeals for the Third Circuit in In re LTL

 Management LLC, Case No. 22-2003, Dkt. 104.
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        26.    Attached hereto as Exhibit 24 is a true and correct copy of the March 31, 2023

 Judgment and Mandate issued by the United States Court of Appeals for the Third Circuit in In re

 LTL Management LLC, Case No. 22-2003, Dkt. 181-1.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed in the State of New Jersey on April 24, 2023.

                                                              /s/ Daniel M. Stolz
                                                              Daniel M. Stolz
